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 1 LUKE A. BUSBY, ESQ
   Nevada Bar No. 10319
 2 LUKE ANDREW BUSBY, LTD.
   316 California Ave 82
 3 Reno, Nevada 89509
   775-453-0112
 4 luke@lukeandrewbusbyltd.com

 5 Attorney for the Plaintiff

 6
                                UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8
                                              ***
 9
      MICHAEL ERWINE,
10
                          Plaintiff,                Case No.: 3:18-cv-00461-RCJ WGC
11    vs.
                                                    PROPOSED ORDER TO RESOLVE
12    CHURCHILL COUNTY, a political                 DEFENDANTS’ EMERGENCY
      subdivision of the State of Nevada,           MOTION FOR CONTINUANCE OF
13    CHURCHILL COUNTY SHERIFF                      TRIAL AND SANCTIONS PURSUANT
      BENJAMIN TROTTER, and DOES 1                  TO FRCP 37
14    through 10 inclusive;
15                     Defendants.
      _____________________________________/
16

17
            COMES NOW, Plaintiff MICHAEL ERWINE and Defendants CHURCHILL
18
      COUNTY, a political subdivision of the State of Nevada, CHURCHILL COUNTY
19
      SHERIFF BENJAMIN TROTTER, and hereby submit the following Proposed Order to
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      Resolve Defendants’ Emergency Motion for Continuance of Trial and Sanctions
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      Pursuant to Federal Rule of Civil Procedure 37.
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            On February 16, 2022, Defendants filed an Emergency Motion for Continuance
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      of Trial and for Sanctions Pursuant to FRCP 37. On February 18, 2022, the Plaintiff
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      filed a response in opposition thereto. On February 19, 2022, the Defendants filed a
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      reply. The parties have subsequently met and conferred about the motion and make
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      the following proposal to resolve the issues raised in same for the Court’s
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 1 consideration in advance of the hearing on the motion to be held on Wednesday,

 2 February 23, 2022:

 3         (1) That discovery be reopened and that the Defendants be permitted to

 4            engage in discovery for a period of 120 days from the date of this Order on

 5            all issues related to and/or raised by the documents disclosed by Plaintiff on

 6            February 11, 2022;

 7         (2) That the Defendants be permitted to file a Motion for Summary Judgement

 8            30 days after the close of discovery; and

 9         (3) That the trial date scheduled for March 15, 2022, be reset for a date

10            convenient on the Court’s calendar on August 1, 2022, or thereafter.

11         DATED this Tuesday, February 22, 2022

12

13                                          By:__/s/ Katherine Parks, Esq.______
                                              KATHERINE F. PARKS, ESQ.
14                                            THORNDAL ARMSTRONG
15                                            6590 S. MCCARRAN BLVD. SUITE B.
                                              RENO, NV 89509
16                                            ATTORNEY FOR THE DEFENDANT
17
                                            By:__/s/ Luke Busby, Esq.__________
18                                            LUKE BUSBY, ESQ.
                                              NEVADA STATE BAR NO. 10319
19                                            316 CALIFORNIA AVE #82
20                                            RENO, NV 89509
                                              775-453-0112
21                                            LUKE@LUKEANDREWBUSBYLTD.COM
                                              ATTORNEY FOR PLAINTIFF
22

23
                 IT IS SO ORDERED
24

25                                          DATED: ____________________
26

27                                    ____________________________________
                                        UNITED STATES DISTRICT JUDGE
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